Case 19-06512-jw        Doc 54     Filed 06/24/20 Entered 06/24/20 14:50:21             Desc Main
                                   Document      Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

Case Number: 19-06512-jw


                           CONSENT ORDER MODIFYING STAY

The relief set forth on the following pages, for a total of 2 pages including this page, is hereby
ORDERED.




 FILED BY THE COURT
     06/24/2020




                                                     US Bankruptcy Judge
                                                     District of South Carolina



   Entered: 06/24/2020
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                                    Document      Page 2 of 2




                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

IN RE:                                           C/A No. 19-06512-jw


Brian James Macdonald                                             Chapter 13

5718 Captain Kidd Road                            CONSENT ORDER GRANTING RELIEF
Hollywood, SC 29449                                 FROM STAY TO CONTINUE OR
                                                  PURSUE ACTION IN FAMILY COURT
***-**-9725                                            AND PROBATE COURT
                                       Debtor.

       This matter comes before the Court upon the request of Brian James Macdonald for an
Order granting relief from the automatic stay provided under 11 U.S.C. § 362(a) to permit
Charleston County Family Court to adjudicate the following actions in Family Court:

            Divorce
            Child Support
            Alimony
            Equitable Distribution of Marital Property & Debts
            Other Attorneys Fees, Court Costs, Expert Fees & Expenses, and to address matters
            before the Probate court handling the estate of Debtor’s spouse, in case number 2020-
            ES-10-379.

         The parties consent to relief from the automatic stay. It is therefore,

        ORDERED that relief from the automatic stay is granted to allow the Family Court to
adjudicate the above-referenced actions and to accord such other relief as is appropriate under
state law. However, additional relief from stay is necessary for the enforcement of a marital
obligation against property of the estate or to hold the Debtor in civil contempt.
Notwithstanding any determination by the Family Court, property of the estate may be subject to
further order of this Court.

         AND IT IS SO ORDERED.

WE SO MOVE AND CONSENT:

/s/ Wendi M. Freeman                                /s/ Sean Markham
Attorney for Debtor                                 Attorney for Cathy Furlow, Executor of
District Court I.D. 5336                            Probate Estate of Leigh MacDonald
                                                    District Court I.D. 10145
